        IN THE UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF TENNESSEE
                 NASHVILLE DIVISION

CRAIG CUNNINGHAM,

                  Plaintiff,
            v.                        Case No. 3:16-cv-01675
                                      Hon. Terrence G. Berg
                                      Magistrate Judge Alistair Newbern
ENHANCED RECOVERY
COMPANY, LLC,

                  Defendant.

      ORDER OF JOINT STIPULATION OF DISMISSAL

The parties have filed a Joint Stipulation of Dismissal (Dkt. 24),
entered on November 13, 2017. Accordingly, this action is
DISMISSED WITH PREJUDICE, and the Clerk is directed to
close the file. Any pending Motions are DENIED as MOOT.

   SO ORDERED.



Dated: December 4, 2017 s/Terrence G. Berg
                        TERRENCE G. BERG
                        UNITED STATES DISTRICT JUDGE
                        SITTING BY SPECIAL DESIGNATION

                        Certificate of Service
  I hereby certify that this Order was electronically filed, and the
parties and/or counsel of record were served on December 4, 2017.

                               s/J. Owens
                               Case Manager


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